     Case 2:23-cv-00169-KS-MTP             Document 44      Filed 12/18/24     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

 SANDRA BAUR, INDIVIDUALLY,                                                      PLAINTIFFS
 and BAUR FOOD GROUP, LLC

        V.                                  CIVIL ACTION NO. 2:23-CV-169-KS-MTP

 THE HARTFORD INSURANCE
 COMPANY                                                                         DEFENDANT


                                             ORDER

       Before the Court is the Report and Recommendation [43] of the United States Magistrate

Judge entered herein on November 25, 2024. No objections to the Report and Recommendation

have been filed within the time allowed by Rule 72(b)(2) of the Federal Rules of Civil

Procedure. The Court, having fully reviewed the same, as well as the record in this matter, and

being duly advised in the premises, finds that said Report and Recommendation should be

adopted as the opinion of this Court.

       IT IS, THEREFORE, ORDERED that the Report and Recommendation be, and the same

hereby is, adopted as the finding of this Court, and the Complaint [1-1] is hereby dismissed with

prejudice. See Fed. R. Civ. P. 41(b). A separate judgment will be entered as required by Rule 58

of the Federal Rules of Civil Procedure.

       SO ORDERED AND ADJUDGED, this the 18th day of December, 2024.




                                                    /s/ Keith Starrett
                                                    UNITED STATES DISTRICT JUDGE
